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         ORDERED in the Southern District of Florida on February 27, 2023.



                                                                             Peter D. Russin, Judge
                                                                             United States Bankruptcy Court
_____________________________________________________________________________


                                          UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF FLORIDA
                                             FORT LAUDERDALE DIVISION
                                                  www.flsb.uscourts.gov

         IN RE:                                                                        Chapter 11 Cases

         VITAL PHARMACEUTICALS, INC., et al.,1                                         Case No.: 22-17842-PDR

               Debtors.                                                                (Jointly Administered)
         __________________________________________/

         VITAL PHARMACEUTICALS, INC. and JHO
         INTELLECTUAL PROPERTY HOLDINGS, LLC,

                  Plaintiffs,
         v.                                                                            Adv. No.: 23-01031-PDR

         ORANGE BANG, INC., and MONSTER ENERGY
         COMPANY,

               Defendants.
         ___________________________________________/

                   ORDER SETTING BRIEFING SCHEDULE AND ORAL ARGUMENT ON
                       PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AND
                            INCORPORATED MEMORANDUM OF LAW

                  THIS MATTER having come before the Court upon the Plaintiff’s Motion for Summary

         1
           The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal tax
         identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual
         Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow
         Unicorn Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).
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Judgment and Incorporated Memorandum of Law [ECF No. 2] (the “Summary Judgment

Motion”) filed by the Plaintiffs/Debtors, Vital Pharmaceuticals, Inc. and JHO Intellectual

Property Holdings, LLC (collectively, the “Plaintiffs”) on February 17, 2023. The Court, having

considered the Plaintiffs’ request at a hearing held on February 23, 2023 to consider matters in

the Debtors’ chapter 11 cases, for the entry of a scheduling order with respect to the Summary

Judgment Motion, and the parties having agreed to a briefing schedule and oral argument to

consider the Summary Judgment Motion as set forth in this Order, does thereupon

         ORDER that:

         1.        The deadline for the Defendants, Orange Bang, Inc. and Monster Energy

Company (each a “Defendant” and, collectively, the “Defendants”) to file their respective

responses to the Summary Judgment Motion is March 17, 2023, and the response of each

Defendant shall not exceed 25 pages in length.

         2.        The deadline for the Plaintiffs to file their reply to the Defendants’ responses is

March 24, 2023, and the Plaintiffs’ reply shall not exceed 15 pages in length.

         3.        The Court will conduct oral argument to consider the Summary Judgment Motion,

the Defendants’ responses, and the Plaintiffs’ reply, on March 29, 2023 at 10:00 a.m. U.S.

Courthouse, 299 E. Broward Boulevard, Courtroom 301, Fort Lauderdale, FL 33301. Oral

argument will be limited to one hour in total.

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Submitted by:
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to appear electronically in this case
and file a conforming certificate of service.)


                                                              2
